IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

Craig Nelsen

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Plaintiff, )

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vS. )

)

Southem Pover'ty Law Center )
Stephen Piggot )
Richard Cohen )
Morris Dees )
Heidi Beirich )
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Defendant . )

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COMPLA|NT
Plaintiff pleads pro se.'
NATURE OF THE CAUSE

This is an action for defamation in accordance with MO Rev Stat § 509.210 (2017) arising out ofthe
Defendant's unauthorized publication of defamatory statements as defined in 28 USC § 4101(1) on a
website owned and operated by Defendant and published in Missouri. As detailed herein, Plaintiff is
entitled to compensatory and punitive damages as a result of Defendant’s actions All events giving rise
to Plaintiffs cause of action occurred in l\/Iissouri, such that Missouri substantive law applies to

Plaintiff’s claims. Plaintiff requests ajury decide these claims

PARTIES

Plaintiff (Nelsen)

PlaintiffCraig Nelsen is the founder of the Robinson Jeffers Boxing Club and owner of
robinsonjeffersboxingclub.com and is a natural person and private citizen residing at the time
ofthe causes of action described herein in Lexington, l\/lissouri.

For art immigration time-out

l. PlaintiffNelsen returned to the United States in 1997 after two years living in China.
Specifically, he returned to New Yorl< City, from which he had been absent six years. As he
settled back into life in the United States, he was struck by the number ofAsians he saw on the
streets of l\/lanhattan. There seemed to be so many more than there had been just six years
earlier He wondered whether there had been such a noticeable change in terms of numbers in

so short a time period or whether, havingjust returned from an extended period living in Asia,

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he was just more Asian-aware_

His curiosity piqued, Nelsen conducted research and learned that US immigration policy is
fueling explosive US population growth Having been so recently in overcrowded, polluted
China, this break-neck population growth concerned him deeply. But, even more troubling to
him, there was almost no public discussion of what seemed to him to be a reckless policy that
was radically remaking the country in completely unpredictable ways_a policy running on
autopilot with no kill switch. Particularly disturbing, there seemed to be an absolute taboo
against even the mildest criticism of the current policy. Any expression of reservation
whatsoever regarding current policy meant immediate denunciation as a xenophobic racist. This

had the practical effect of acting as a blanket suppression of certain political speech.

Believing such suppression of political speech to be contrary to the principles of the Founders,
and detrimental to the political health of the nation, Nelsen made the decision to sell off his
share of several restaurants he owned with his brother in Manhattan and use the money to form
a group to erect billboards in New York and elsewhere to inform his fellow citizens about basic
immigration facts. The goal was to generate public debate on this important issue free from the
vicious name-calling that attended even the mildest criticism of what was, after all, simply a
public policy issue. He called the group ProjectUSA and posted a mission statement announcing
that the goal of ProjectUSA was to drag the immigration issue into the middle of public debate
where it belonged and delink it from race so that people could debate it in a manner suitable to a

mature democracy.

All Proj ectUSA billboard messages were based on government data or polling data from

reputable firms. Nevertheless, the debate the billboards generated did not seem the product of a

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sober, thoughtful citizenry. Among other excesses: Congressman Joe Crowley, l\l`elsen's
representative in Congress, called the billboards “loathsome”; a group of rabbis protested in
front ofa billboard in Queens; The Doii}) Shoi-v's Jon Stewart ridiculed Nelsen on Comedy
Central and used a photo ofhim with a Hitler mustache superimposed; TV crews camped
outside the homes and businesses of family members; politicians held press conferences
denouncing the “hate” the billboards spread; the New York City Council voted 43-2 to condemn
ProjectUSA and, at a news conference after the vote, Nelsen was compared to a self-described
neo-Nazi who had shot up a lewish daycare center in Los Angeles and murdered an Asian
postal worker the day before', New York State Assemblyman Dov Hikind, writing in the Jewish
Forword, inveighed against “the putrid stench of Nelsen`s racism”; billboard companies_after

threats from city officials*broke their contracts and took down ProjectUSA billboards.'

5. Defendant SPLC joined in the public hysteria, denouncing l\lelsen and ProjectUSA and
implying in its “lntelligence Report” that the billboards were “racist”_ l\/lost damaging and
outrageously unfairly, the SPLC used its well-honed skills at character assassination to link

ProjectUSA and Nelsen to “Nazi atrocities”.

6. Being publicly slammed as a racist and a Nazi stunned Nelsen. Prior to living in China, l\lelsen
had written an article for a neighborhood weekly called the East Vii!ager in which he had
advocated open borders on the grounds everyone in the world had the right to pursue happiness
anywhere in the world regardless of freedom-killing, government-imposed borders. And,
despite the best efforts of the entire New York City press corps, nothing could be found in his

personal history, his writings, his statements, his associations, or in any aspect of his life that

 

l Billboard Foes Yeam to Brcathe Free Without lts Presence. New York Times, October 22, 2000
htips;//ww\v.nytimcs.com/EOOO/ l 0/22/1iyregi0n/nei ghborhood-report-brooklyn-hei ghts-billboard-foes-ycam-breathe-
t`ree-without.html

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could be described as even remotely racist. He was hardly a xenophobe. As blogger Lawrence
Auster wrote on October 15, 2008, six years after the SPLC had attacked Nelsen as a racist neo-
Nazi, upon reading an article Nelsen had written discussing iminigration's impact on the white

American majority,

"When l tnet Craig Nelsen yearsl ago. around the time he was getting Siarted with
ProjectUSA, and talked immigration 1.vith him, he was focused on the negative
effects of immigration~caiised population growth He eschewed any concern about
the eject of immigration on the racial and cultural character ofonr society, let
alone on the white race as the white race. He fs traveled some distance since then

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What had been the path traveled by Nelsen? ln one illustrative incident, New York's Fox 5 TV
station contacted Nelsen_, requested an interview, and asked whether he could also bring along
some “followers”. Nelsen agreed and brought two local supporters, both of whom had
contributed money to the billboard campaigns One was an African-American man from
Brooklyn, who understood the downward pressure on wages mass immigration put on the teens
and low income workers in his neighborhood The other was an immigrant from lndia, who was
most concerned about the massive fraud that occurs in the immigration industry As the cameras
were being set up, the two ProjectUSA supporters were telling the reporter, Mary Garofalo, why
they felt the country needed an immigration time-out. Interrupting, she pointed at Nelsen,
saying, “Look, l understand why he's here. What l don't understand is why you are here.” In
other words, Garofalo couldn't even hear the words coming out of their mouths. The only
pertinent fact to her was their skin color. By these and other experiences, l\lelsen learned that
immigration was, for many, including l\/lary Garofalo, absolutely a racial issue. This raised an

interesting question: ifthe immigration issue is absolutely a racial issue, then what are the racial

reasons for l\/lar Garofalo's su ort for mass immigration or Dov Hikind's, or lon Stewart's or
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2 http:/lwww.amnation.comivfriarchivcsiOl1640.html

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the Southern Poverty Law Center's‘?

7. The SPLC's article about Nelsen and ProjectUSA was contemptible for its substance and
methods but chilling in its effectiveness ln the lnternet age, not only does a hit piece work, it
works forever L-ong after ProjectUSA closed down operations that article continued to follow
Nelsen, jettisoning career opportunities poisoning social relations and serving as an effective

deterrent against anyone else who might be thinking of criticizing current immigration policy.

8. ln January, 2018, in Lexington, Missouri, that article once again reared up and detailed Nelsen's
plans when a local woman named Deborah Starke Bulloc discovered it online and posted it on
the Facebook group, Lexington Bulletin Board. But this time, the impact of that article was
more than just another career setback. This time, especially when the SPLC reworked the old
smear and republished it as another attack in the January 24, 2018 article that is the basis for the
causes of action enumerated herein, it had deadly consequences But, that story begins three

years earlier while Nelsen was living in Baltimore, l\/laryland.

Baltimore panltandlers

9. Like everyone in Baltimore, Nelsen had noticed the explosion in the city's panhandling
population At nearly every major intersection, a Baltimore motorist was likely to see one or
more panhandlers plying their need among the cars waiting at the red lights Remarkably, even
though only about twelve percent of Baltimore's population are white males,3 nearly all of the
panhandlers were white males-not only white and inale, but young and able-bodied white

males4 Any new phenomenon with such an extreme skew is significant Nelsen began pulling

 

3 https:/istatisticalatlas.com/place/Maryland/BaltimorelRace-and-Ethnicity
4 Plaintifl` made two videos in 20l 5/20]6 while the RlBC was in the idea stage. The can be seen online Dave
litto:/`/robinsonieifersboxingclub.com/librarvlvideoldave-baltimore-anr-20 l 6.mn4 and losh

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Ovel‘, getting out of his vehicle, and talking to the panhandlers to try to learn more about this
social phenomenon The common denominator among the panhandlers he spoke with was

heroin addiction

Nelsen and Davis also learned that white males, while only thirty percent ofthe US population,
are seventy percent of the nation's suicides Couple that with the opioid abuseia form of slow
suicideiand Nelsen and Davis understood a human catastrophe was underway among a
specific and identifiable segment o'fAmericans. There was no denying something had happened
that left millions sapped ofthe will to live, and while there were, of course, plenty of
exceptions those millions could be broadly identified by race, by gendei', and by age_young to

middle aged white males The question was: why was it happening?

From his experience with ProjectU SA and the vicious attacks-including attacks from the
SPLC_on him and his group more than a decade earlier, Nelsen had come to believe that a
debilitating, spirit-sapping bigoti‘y against whites permeated the culture. While the National
Association of La Raza openly advocated for Latino interests the Anti-Defamation League
openly advocated for Jewish interests and the National Association for the Advancement of
Colored People openly advocated for African-American interests_a|l without the slightest
censure_the completely race-neutral ProjectUSA had been attacked viciously by Defendant
and others as a racist organization The other groups made no secret of their racial activism_,
indeed, were rewarded for it with grants from the F ord Foundation and federal and state
governments Meanwhile, Proj ectUSA was attacked for secretly advocating for the interests of

whitesl

 

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Clearly, a giant double standard was at work in American society. The impact on a young white
American growing up under that double standard is likely significant Froni childhood, he or
she will be a victim of racism and racial denigration countless times_in the cinema, in the
media, in the street1 in the classroom, in the workplace-a racism the existence of which they
must deny_or be guilty of...racisinl Even if he succeeds in denying the existence of the racism
of which he is the constant victim, he must learn that, in fact, whiteness itself is the embodiment
of racisrn. Taught from infancy that diversity is our strength, it dawns on him that diversity just
means “not white”, and from that he has had to conclude that whiteness is our weakness When
he succeeds in life, it is an unearned result of privilege When he fails, therefore, he is doubly to
blame. And because of his implicit, unconscious racism, he is even to blame for the failures of
others I-Ie is taught that his institutions are instruments of oppression, and he and his ancestors
the oppressors ln school, he learns that his country was founded on genocide and built by
immigrants and made wealthy on the backs of slaves. From movies he learns that slavery itself
is the primary fact of his history Above all, he knows that racism is the cardinal sin and it is
embedded in the color ofhis skin and his skin only. Evil, it turns out, is genetic. Overcoming
whiteness, then, not to mention toxic inasculinity, is impossible for the white male save for one
solution, which also happens to be a permanent solution Nelsen concluded that this pervasive
cultural bigotry against whites was the most likely reason white males were in a crisis of
suicidal self-loathing. lt was the only position Nelsen could discover that could explain the
sudden phenomenon of so many young white males in despair selling their degradation at the

traffic lights ofBaltimore in order to buy the method of their own extinction

Right or wrong, Nelsen`s position is at least a defensible one_a position that can be held

Without needing to hate anyone.

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14. l\lelsen had another avenue through which to analyze the human tragedy unfolding across the
nation. As a youth, Nelsen attended New York University and had taken an apartment in New
York‘s Alphabet City on the Lower East Side of Manhattan_an area of town so dangerous at
the time taxi drivers would sometimes agree to take one only as far as Second Ave. The
affordability of the apartment came at a cost: heroin was everywhere; it was even sold by
dealers in the vestibule of his building lt wasn't long before Nelsen developed his own severe
heroin addiction By the time Nelsen came across the panhandlers of Baltimore, however, he
had been clean for thirty years. But his experience as a junkie many years earlier allowed him to
analyze the situation of the Baltimore panhandlers in light of his own recovery_as someone

who had been through it. And that was how the Robinson Jeffers Boxing Club came into being.

Defendant (SPLC)

Defendant Stephen Piggot, the author of the defamatory material at issue in this action, is a
natural person and an employee of the Southern Poverty Law Center.

Defendant Richard Cohen, a natural person and President, Southern Poverty Law Center

Defendant l\/lorris Dees, a natural person, founder, and Chief Counsel, Southern Poverty Law
Center

Defendant Heidi Beirich, a natural person, leads the Southern Poverty Law Center’s
lntelligence Project, which publishes the lntelligence Report and the Hatewatch blog.

Defendant Southern Poverty Law Center (SPLC) is a business in l\/lontgomery, Alabama,
where it maintains a website (splcenter.org). At all times Defendant was acting by or through its
authorized agent(s), employee(s), representative(s) or owner(s). The Southern Poverty Law
Center is liable for the defamation because Stephen Piggot made the defamatory statements
within the scope of his agency with the Southern Poverty Law Center.5

Not your father 's non-profit tax-exempt civil rights group

15. In 1971, after the civil rights victories ofthe 1960s had been won by organizations like the

 

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See Papa .lohn's USA. lnc., 366 S.W.3d at 120 ("[R]espondeat superior imposes vicarious liability on employers for the
negligent acts or omissions of employees or agents as long as the acts or omissions are committed within the scope of
the employment or agency." (quoting Lindquist, 168 S.W.Sd at 655-56))

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SNCC,(‘ and the SCLC,7 the SPLC was founded in i\/lontgomery, Alabama by an attorney named
.loe Levin and a local direct-mail marketeer named Morris Dees, who was so good atjunk mail
he is in the Direct l\/lail Hall of Fame.8 Defendant is a 501(c)(3) organization recognized as a
tax-exempt charity by the IRS. For its most recent tax year, Defendant reported an astounding
5136 million in income, a 244 percent increase over the previous year. The organization has
nearly a half billion dollars in assets°, with a substantial portion of it parked in bank accounts in

off-shore tax havens "’

The SPLC, its founders, its management, its attorneys, and its writers_including the writer of
the article at issue here_are especially sophisticated users of the written word. The language
used in its fundraising material is legally precise and, with emotive virtuosity, milks the
generosity and good intentions of Americans who believe, when they write a check to the
SPLC, they are rewarding champions ofcivil rights and supporting equal justice for all. lt is
becoming increasingly apparent, however1 to a growing number ofAmericans that a
contribution to the SPLC rewards fear-mongering, suppolts the bloated salaries of a few at the

top of the organization, and foments hatred and division in our society.

“Demagogic Bully” was the title ofa July 2017 article in the Manhattan lnstitute's City Journo[_
“The SPLC’s authority derives from its presumed occupation of a moral high ground, which is
belied by its record of character assassination, questionable fundraising practices, excessive
salaries, and poor ratings from philanthropic monitors,” the City Jotrrnol wrote. Quoting the

widely admired progressive journalist, Alexander Cockbuni, the author, l\/lark Pulliam,

 

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Student Nonviolent Coordinating Cotnntittee 1969 - 1976, Atlanta, Georgia
Southern Christian leadership Conl"erence 1957 -, Atlanta, Georgia (l\/lartin Luther King Jr)
http://www.dmnews.co111/agency/dma-names-'fl-to-hal1-ol`-lame/article/S‘)SBM
3477 million in assets, Form 990, 2018
0 Bennuda, Cayman lslands, and the British Virgin islands Form 990-1 2015

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continued, “l’ve long regarded l\/lorris Dees and his Southern Poverty Law Center as

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collectively one of the greatest frauds in American life.

The conservative magazine, Non'onal Revi`ew_, echoed the sentiment from the other end of the
ideological spectrum, “There was a time when the Southern Poverty Law Center did useful
work reporting on actual hate groups such as the KKK. These days, though, the SPLC is simply
a MoveOn or l\/Iedia l\/lattersestyle outfit. Its core mission now is trying to marginalize and shut
up even mildly right-of-center voices by calling them instruments of hate, making increasingly
strained attempts to tie conservative commentators, authors, political figures, and professors to

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the alt-right or neo-Nazistn.

The SPLC's main claim to fame was a mid-l 9805 court victory over the already moribund and
widely reviled KKK. As the left»leaning magazine, Harper's, explained in a devastating 2002
exposé, “In 1987, [founder Morris] Dees won a S'/` millionjudgment against the United Klans
of America on behalf of Beulah Mae Donald, whose son was lynched by two l<.lansmen. The
UKA's total assets amounted to a warehouse whose sale netted Mrs. Donald 351,87'5.
According to a groundbreaking series of newspaper stories in the Montgomery Advertiser; the
SPLC, meanwhile, made 39 million from fund~raising solicitations featuring the case, including

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one containing a photo of l\/Iichael Donald's corpse.

While its early work may have been unobjectionable, a piece in the New York Times concluded
that today “__.the S.P.L.C. is an organization that has lost its way, smearing people who are

fighting for liberty and turning a blind eye to an ideology and political movement that has much

 

1 1 https://ww\v.city~_iournal.org/html/demagogic-buily- l 5370.html
12 https://www.nationalrevie\v.com/20 l 8/03/southern-poverty-law-center-bias-hate-group-labels-scam/
13 https://rkeefe§'.".liles.\vordpress.com/20l5/01/chttrch-of-moiris-dees.pdf

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in common with l\lazism."14

Invesrors Business Doit'_v agrees, writing in June, “The SPLC smears individuals and groups it
differs with by labeling them as some form of 'hater' f 'racist,' ’white supremacist,' 'extremist'

and the like.”'5

The SPLC smear machine is enabled by a lazy or credulous media, as noted by the Jewt‘sh
Po/icy Center in December, 2017, “Journalists and academies often rely uncritically on the
Southern Poveity Law Center as a source of information about hate groups and racism in the
United States, particularly bigotry said to stem from the far right.” The report warns, “Is SPLC
a reliable source on bigotry and hatred in the United States, a money-raising machine, or
combination of both? Does it rigorously define and uncompromisingly expose prejudiced
individuals and groups, or conflate them with the center’s political opponents? Due diligence by

journalists seems to be required.”"’

But that due diligence is far too infrequent, says the Ci`nci'nnorr` Enqtn`re:: 1n September 2017,
under the headline “Wise up to Southern Poverty Law Center's scam”, the paper excoriated
the SPLC. “For too long now respectable newspapers and other news outlets have lent
credibility and succor to one of the most dishonest and unprincipled 'civil ri ghts' organizations
in America. Under the guise of identifying and fighting 'extremist hate groups,' the Southern

Poverty Law Center has actually become one. And a rich one at that.”'7

J ust months later, the Tobfet Mogozi`ne, an Arnerican Jewish online publication, wrote

 

14 https://www.nytimes.com/201 7/08/24/opinion/southern-poverty-law-center-liberals-islam .html

15 https://www.investors.com/politics/columnists/sp|c-prager-university-hate-groups~left-wing/

16 https://www.jewishpolicycenter.org2017/12/17'/18072/

17 littps://www_cincinnati.coln/story/opinion/contributors/ZOl 7/09/'15/wise~up~southern-poverty-law-centers-

scam/666904001/

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scathingly “the once venerable organization has abandoned its core mission7 focusing instead on
dirty partisan polities...The SPLC has halfa billion dollars and seemingly endless appetite for
such character assassination campaigns, which should trouble anyone committed to unfettered
inquiry, intellectual exchange, and the other old-fashioned values for which journalism,

academia, and other high-minded pursuits once stood.”'g

And an article earlier this year in Reoson Magozine blistered the SPLC for the gross self-
enrichment practiced by the top management of the “civil rights champions", writing, “Morris
Dees, the Center's founder, pays himself nearly halfa million dollars a year. Although Dees
once promised that when the Center's endowment reached 350 million, he'd stop fundraising, he
didn't stop. Now the Center has 5320 million dollars stashed away _ much ofit in the Cayman
lslands. lt's all in their tax returns...the Southern Poverty Law Center has become a hate group

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itself. lt is now a left-wing, money grabbing, slander machine

Amy Sterling Casil, CEO of Pacific Human Capital, a California-based consulting firm for
nonprofits and charitable organizations was particularly appalled by the SPLC‘s enormous
holdings off-shore. ln a Wc:shi`ngron Free Beocon article last year, which noted how little the
SPLC money machine actually spends on its supposed cause, i\/ls Casil was quoted, "l've never
known a US~based nonprofit dealing in human rights or social services to have any foreign
bank accounts l\/ly impression based on prior interactions is that they have a small, modestly
paid staff, and were regarded by most in the industry as frugal and reliable l am stunned to
learn of transfers of millions to offshore bank accounts lt is a huge red flag and would have

been completely unacceptable to any wealthy, responsible, experienced board member who was

 

18 https://www.tabletmag.com/jewish-news-and-politics/2607`35/splc-klan-hunters-to-smear-machine
19 https://reason.com/reasontv/ZO1 8/01/16/the~southern-poverty-1aw-center-scam

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committed to a charitable mission who l ever worked with. lt is unethical for any US-based
charity to invest large sums of money overseas l know ofno legitimate reason for any US-

based nonprofit to put money in overseas, unregulated bank accounts."20

The SPL-C had to fork over some of their enormous cash stash recently when they got spanked
in court as reported in a syndicated column in the Was/iingron Post last June: “After years of
smearing good people with false charges ofbigotry, the Southern Poverty Law Center (SPLC)
has finally been held to account A former lslamic radical named Maajid Nawaz sued the center
for including him in its bogus 'Field Guide to Anti-Muslim Extremists,' and last week the SPLC

agreed to pay him a $3.375 million settlement and issued a public apology.”21

ln the wake of that humiliation, reports the Woshington Times in a June 20 article, a “coalition
of 45 prominent conservative groups and figures called Wednesday on those partnering with the
Southern Poverty Law Center to sever their ties, saying the center’s credibility has been further

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eroded by this week’s defamation settlement

The day after the Wnshi`ngton Tr`mes article ran, the Wot'/ Srreer .]ourno/ came to the defense of
yet another SPLC target, whom “the Southern Poverty Law Center falsely labels...a ‘white
nationalist.’...A clear illustration ofthe SPLC’s pervasive and insidious influence is the l\/larch
riot at Middlebury College, where [social scientist Charles] l\/lurray had been invited to speak.
1The SPLC is the primary source for the protesters at my events,' l\/Ir. l\/Iuiray told [the

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interviewer]. '1t is quotes fi‘om the SPLC, assertions by the SPLC that drive the whole thing.

 

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hrtps://www.washingtontimes.com/news/20 l S/_iun/20/conservatives-call-companies-cut-ties-discredited-/
https://\Wwwsj.com/articles/the-insidious-intluence-of-the-splc-1498085416

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31.

The policy position that guarantees a smear by the SPLC is advocacy ot`immigration reduction.
After Kansas governor Kurt Kobach was heckled by protesters who spewed inflammatory,
injudicious SPLC rhetoric at him, immigration proponent Sam Peak1 writing in the Konsos Cirj.’
Sror, admonished the protesters. “But the SPLC’s history of recklessness isn’t the only reason
why citing it is a liability for immigration advocates,’7 he wrote. “Even when it is correct, it

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employs guilt by association tactics that are unable to withstand serious scrutiny.

On top of the public's revulsion for schemes that use tax-exempt charities for self-enrichment
and on top of the public censure the SPLC has attracted by the exceedingly objectionable tactics
it employs to advance its agenda, the SPLC's agenda irset_'fis raising questions. ln June 2017,
Politico wondered, “ls tough immigration control really a form of hate, or just part of the
political conversation? Does rejecting a religion make you an extremist? At a time when the line
between “hate group” and mainstream politics is getting thinner and the need for productive
civil discourse is growing more serious1 fanning liberal fears, while a great opportunity for the

SPLC» might be 3 PrObl@m fOI” the nation.”25

lndeed, one might question whether the SPL-C's public agenda is even its actual agenda. On its
website, the SPLC describes itself as “a nonprofit civil rights organization dedicated to fighting
hate and bigotry1 and to seekingjustice for the most vulnerable members of society”. The SPLC
is “work[ing] toward the day when the ideals of equal justice and equal opportunity will be a
reality”_26 To that end, the SPLC claims it “monitors hate groups and extremists throughout the

United States and exposes their activities to law enforcement agencies, the media and the

 

24 https://www.l<ansascity.com/opinion/readers-opinion/guest-commentary/anicle206870469.html#story|ink=cpy
25 littps://www.politico.com/magazine/story/ZO1 7/06/28/morris-dees-splc-trump-southern-povcity-1aw-ccnter-2153 | 2
26 littps://www.splcenter.org/about

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public”:? by publishing a list of“[i]ncidents of apparent hate crimes and hate group activit'ies”
which "are drawn primarily from media sources.”28 ln other words, in furtherance of its stated
agenda_, says the SPLC, it scours news reports for hate making a list of hate “crimes” and
“activities”, then it “exposes” the haters online and to law enforcement and media outlets. But
just how well does the SPLC's list ofhate incidents reflect its stated agenda? l-lere is a hate
incident from 2010 that made national news but somehow did not actually make the the SPLC's

list of hate incidents:

a) ln August 2010 in Des l\/loines, 30-40 black youths attacked white people at random in and
around the lowa State Fairgrounds, an event the mob called “Beat Whitey Night”.z° The
violence left one young white man with a fractured skull, and two police officers injured.
Even though the incident was widely reported and involved attacks on law enforcement
officers, the SPLC ignored “Beat Whitey Night” entirely The only hate crime listed in the

SPLC's list of hate crimes for lowa in 2010 was this one

Des lV|oines, lowa Vanda|ism

Vanclals painted a swastika and the letters "KKK" on a man's
truck.

Reported July 21 , 2010

b) ln August 2011, there was another overlooked incident at neighboring Wisconsin's state fair.
“According to witnesses, a group of anywhere from 30 to 100 young black men descended
on the Wisconsin State Fair, beating fairgoers and looting carnival games, in what witnesses

said were racially-motivated attacks...One witness named Eric, an lraq veteran, said the

 

27 https://www.splcenter.org/lighting-hate
28 https://www.splcenter.org/lighting-hate/hate-incidents
29 littps://www.youtubc.com/watch‘?v:thxWyliOYw

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attacks reminded him of war: 'l had a black couple on my right side, and these black kids
were running in between all the cars, and they were pounding on my doors and trying to
open up doors on my car, and they didn't do one thing to this black couple that was in this
car next to us. Theyjust kept walking right past their car. They were looking in everybody‘s
windshield as they were running by, seeing who was white and who was black. Guarantee
it....l saw them grab this white kid who was probably l4 or l5 years old. They just llutig
him into the road. They just jumped on him and started beating him. They were kicking
him. l-le was on the ground A girl picked up a construction sign and pushed it over on top of
him. They were just running by and kicking him in the face.'"30 (WTMJ-TV, Bzrsi`ness
In.sio'er) “Wisconsin police say a mob attack at the Wisconsin State F air was racially
motivated One teen arrested Wednesday said he deliberately targeted white fairgoers
because they were 'easy targets_"’S' (Chr:'srion Sci`ence Moniror) Even though police pursued
hate crime charges in the attacks and publicly called the attacks 'hate crimes', and even
though the attacks were widely reported as hate crimes in national media, the lone entry on

the SPLC's list of Wisconsin hate crimes for August, 2011 is this one:

Berlin, Wisconsin Legal Developments
Paul Captain, 49, was allegedly charged with a hate crime for
sending threatening and racist e-mai|s to the Wisconsin State

Fair spokeswoman.

Reported August11, 2011

Those arejust two ofmany examples putting the lie to the SPLC's claim it is fighting “hate”.

You can't ignore violent racially-motivated actual hate crimes, and then claim you are fighting

 

30 https:/7www.businessinsider.com/racc-war-heats-up-at-wisconsin-state-fairwait-the-race-war-20l 1-8
31 littps://www.csmonitor.comf USA/_lusticc/20 l 1708 l 2/Wisconsin-State-Fair-mob-attack-Police-seek-hate-crime-charges

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33.

hate by labeling those with whom you disagree on immigration policy as hate groups and racist

extremists.

But it isn't just immigration restrictionists the SPLC smears with reckless abandon. Karl
Zinsmeister in Phi/cinrhropy Rozmdtcrl)le lists examples of a wide spectrum of political
opponents the SPLC has smeared as traffickers in hate. They “include former Cincinnati mayor
and Ohio Secretary of State Kenneth Blackwell, think-tank president Frank Gaffney, Cliff
Kincaid of the press watchdog Accuracy in l\/ledia, former Lieutenant General Jerry Boykin,
WorldNetDaily journalist .loseph Farah, Rafael Cruz, a Cuban immigrant and father of a U.S.
Senator, legal gadfly Larry Klayman, and immigration restrictionist Dan Stein, philanthropist
Ron Unz, bestselling author Dinesh D’Souza, regular Congressional testifier l\/lark Krikorian,
former senator and Governor George Allen, U.S. Attorney General Jeff Sessions, fortner
Congressman Tom Tancredo, former Congressman and Presidential candidate Ron Paul, and
scores of other public-spirited Americans active in national debates have likewise been slurred
and defined as beyond the pale by the SPLC. So have charities like J ames Kennedy’s Coral
Ridge Ministries, the Federation for American lmmigration Reform, the Center for lmmigration
Studies, the World Congress of Families, the National Organization for l\/larriage, Liberty
Counsel, and hundreds of others. lt is entirely fair to disagree with any ofthese charities or
individuals_but utterly unfair to insist they are hate criminals. The largest category on the
SPLC “haters” list is “anti-government groups.” (663 entriesl) This dragnet catches the tea
party and patriot organizations that are suspicious of centralized power, which last we checked
was a long and honorable American tradition. What is not part of an honorable American
tradition is the course of action prescribed by SPLC Senior Fellow l\/lark Potok; 'Sometimes the

press will describe us as monitoring hate crimes and so on.... l want to say plainly that our aim

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in life is to destroy these groups, to completely destroy them.

ln summary, the SPLC maintains a public image that is inaccurate and calculated to mislead
members ofthe public for the purpose of 1) scamming donors, 2) disguising their true agenda,
and 3) destroying their political opponents Therefore, the SPLC acted purposely in the
defamation hereinafter alleged, and the 'state of mind‘ component needed in order to satisfy the

“actual malice”34 standard in a defamation case seeking punitive damages is established35
JURISDICTION AND VENUE

This Court has originaljurisdiction over this action and the the SPLC pursuant to 28 U.S.C.
Sec. 1332 (a)(l) in that the matter in controversy exceeds $75,000 exclusive of costs and

interest, and is between citizens of different states

This Court has personal jurisdiction over the the SPLC as the cause of action arose out of
conduct occurring in Lafayette County, l\/lissouri and covered by i\/[issouri’s long arm statute
and the the SPLC has had sufficient minimal contacts with Missouri to satisfy the requirements
of due process Additionally, the the SPL-C has purposely availed themselves of the benefits and

protections of`l\/lissouri and directed its activities at Missouri residents

 

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littps://ww“w.philanthropyroundtable.org/philanthropy-magazine/article/sprin0-20 l 7-briefly-noted

Potok also has publicly admitted the SPLC is a scam, saying in a 2008 interview, “l think a lot of people feel, ‘Oh,
groups like the Southern Poverty Law Center, they find, you know, the two hundred l\lazis running around the country,
they build them up into great big groups, they make a big deal about it and then ask for your money,' right? ln other
words, it`s kind ofa scam. You hype up this little tiny threat into something scary, uh, and then go and try to make
money off of it.”

Gertz V. Robert Welch, lnc., (1974)1\10. 72-617

Hcrber v. Lando, 441 U.S. 153 (1979) Reliance upon such state of mind evidence is by no means a recent development
arising from New York Times and similar cases Rather, it is deeply rooted in the common law rule, predating the First
Amendment, that a showing of malice on the part ofthe defendant permitted plaintiffs to recover punitive or enhanced
damages ln Butts, the Court affirmed the substantial award ofpunitive damages, which, in Gcorgia, were conditioned
upon a showing of "wanton or reckless indifference or culpable negligence" or "ill will, spite, hatred and an intent to
injure. . . ."' 388 U.S. at 388 U. S. 165-166.

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37. Venue is proper pursuant to 28 U.S.C. Sec. 1391 (a)(2) as a substantial part ofthe events giving
rise to this action occurred in Laf`ayette County, l\/lissouri. The defamatory statements alleged
were broadcast over the lnternet and targeted residents of Lafayette County, l\/lissouriq they
concerned an undertaking in l\/lissouri, and they were felt most keenly by and had the greatest

36 l\/loreover the harm flowing out from the

meaning for the residents of Lexington, l\/lissouri.
SPkC's defamation of Nelsen washed first over some of l\/lissouri's most vulnerable;

specifically, it deepened the despair of men sinking into addiction and distress

38_ The claim is timely, because an action for libel or slander that is first published in Missouri
must be commenced within two years37 and the defamatory material at issue in this action was

published less than one year ago.

STATEMENT OF FACTS

Robinson Jejfers Boxing Club

39. The Robinson Jeffers Boxing Chibe hereinafter RJBC, is a 13-week residency “lif`e treatment”
program for men with opioid addictions or who are otherwise in distress rl`he program calls for
a healthy, primarily raw food diet, daily morning exercise, and a rigorous academic program

including math, philosophy, literature, music, history,39 and, to help the men conceptualize a

 

6 Baldwin v. Fischer-Smith, 3 l5 S.W.3d 389, 391~92 (l\/lo. Ct. App. 2010).

7 Mo. Rev. State § 516.140 (2011)

8 https://robinsonjeffersboxingclub.com/

9 A key first step in the Plaintiff's opioid-free life was enrolling in the Great Books program at St Johns College in Santa
Fe, New Mexico. Part of the required curriculum at the college was extensive history reading-not modern history
textbooks1 but historians like Tacitus1 l.ivy1 and Herodotus, writers who were more or less contemporary to the events
they recorded. One morning, on the way to class, Plaintiff had an epiphany as he contemplated what he had been reading
the night bel`ore. Verbatim: “Wow, we're not so bad after alll” White people~his peopleiwerejust people. They
weren't especially evil, nor privileged, nor guilty, nor embarrassing, nor racist. They were just a group of llawed,
distantly related individuals like all the other groups of distantly related individuals throughout history This insight had
a transformative effect on the Plaintiff. `l`he shift that occurred in his world view was palpable and positive and he sought
to incorporate it into the R.lBC. Thus, thc history component of the R.lBC would present the addicts with an entirely
different perspective on thc Civil War, for example, than the denigrating one flollywood has given them. They would

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higher way ofliving, poetry.

ln the evenings, there are movies that celebrate great themes like chivalry, honor, and American
can-do-ism. Other evenings are devoted to Jordan Peterson videos and discussion, while other

evenings are devoted to poker tournaments and chess.

Where possible RJBC is sell"-sufficient, growing its own food, doing its own housekeeping,
making its own repairs and building its own furniture. Upon graduation, the men know how to

use tools

But the core of the program is a daily two-hour intensive boxing training Boxing gives men
confidence in themselves and helps them learn to respect world rather than fear it. ln the ring,
men form healthy bonds of friendship with other men who drive them to test their limits
Boxing training requires a great deal of effort and demands personal courage. Therefore, it
enriches the men and their experience of the world. When they leave RJBC, the world is no

longer happening to these men; it is they who act in the world.

Nelsen put up a website for the club and described it as it is herein described. He expressed his
theory that, as evidenced by official statistics on suicide and opioid abuse, white males were in
a crisis of self-loathing. He argued that the Robinson J offers Boxing Clubidesigned to address
the particular challenges faced by white males in modern America_could save lives, repair

broken families and help alleviate the ocean of suffering across the country.

On the website and in his correspondences, l\lelsen made it clear that, while the program was

 

read the actual letters home from actual soldiers-~both Union and Confederateion the battlefield. They would read a
book of`oral histories told by former slaves in the immediate aliennath of the war. They would learn that their ancestors
were humans not demons; they would therefore see themselves more accurately as humans, as Americans, and as white
men.

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designed to address the specific challenges unique to white males in the United States, the

program was open to, and would benefit, men in distress of any race.

45. l\levertheless, it became an issue that the program was designed to address the Special
challenges faced by white males_the very fact of which provides a powerful demonstration of
the Special challenges faced by white males that makes the program necessary in the first place
(since a program run by the l\/[exican-American Legal Defense and Education Fund to address
the challenges faced by Latino men would meet no such resistance and, in fact, would be landed

as admirably public-spirited).

46. The program was also intended for high lQ men, partly because of the demanding academic
component ofthe program, but primarily because studies show that high iQ individuals are
more susceptible to drug addiction than the general population,40 meaning there is a cognition-
dependent aspect to substance abuse. More-over, while mainstream drug treatment programs are
notoriously ineffective in general, with recidivism rates reaching 80 percent or higher, many
people_l\lelsen among them-believe that for high lQ individuals those programs are even less
effective Tragically7 when an attempt to overcome drug addiction ends in failure, the negative
light in which the addict sees himself in the world that made him vulnerable to addiction in the
first place is intensified, reducing his value in his own eyes and, consequently, diminishing the
incentive to try again. lt's a phenomenon that makes traditional treatment programs for some
addicts outright harmful. Nelsen made the decision early on to make the suitability of the
program for, and benefit to, high-IQ individuals explicit so that men in that category who find

themselves in distress and who are caught in a deadly vicious spiral might be reached more

 

40 'l`he Relalion Bcrween lQ and Drug Addiction, hrtps://iighthousetreatment.com/tlie-reiation-between-iq-and-drug-
addiction/

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readily by being addressed more directly.

Lexington, Missourr`

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Patrick Welch, a resident of Washington, DC, but native of Lexington, Missouri, to whom
Nelsen had explained the concept behind the Robinson Jeffers Boxing Club, found the idea
worthwhile. Welch owned an eight thousand square foot former grocery store at 1419 l\/lain St
in Lexington that had been standing empty for several years. Welch told Nelsen that if he could

make the idea work, the space was his to use.

Sherman Davis, a resident and native of Washington, DC, to whom Nelsen had explained the
concept behind the Robinson Jeffers Boxing Club, found the idea worthwhile. He committed to
making the Robinson Jeffers Boxing Club a reality by accompanying l\lelsen to Lexington, from
Washington, DC and contributing “sweat equity” to the project ln particular, Davis acted as a
videographer, documenting many hours of interviews with opioid addicts from Baltimore
through hard hit Appalachia to St Louis and Kansas City, interviews by Nelsen of law
enforcement personnel regarding the viability of the RJ BC, footage of the property in
Lexington, and interviews with Lexington residents and prospective clients on different aspects

of the RJBC.*'

After arriving in Lexington on Christmas morning, 2017, Nelsen and Davis started cleaning up
the grocery store, getting the water and gas turned on, and so on. Word began to spread in the
small town of 47[)0 that they were about to open up a drug treatment center on l\/lain St. People
were going to the website, where they read that, while the program would be open to any man

in distress, the program was created specifically with the special challenges faced by white

 

41 https:/!\vww.voutube.com/watch'?v;Xlind$hCoXCro

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males in mind

There arose two public concerns The first was that R.IBC would bring drug addicts to
Lexington. The second was that R.lBC was a white supremacist organization Plaintiff admits he
did a poorjob explaining their plans to the community and missed some good opportunities to
allay fears. However, it Was Nelsen's experience that when skeptical people understood what
the R.iBC program was about, and who it would help, and the thinking behind it, the skeptics'
opposition softened or disappeared While they may have misjudged their depth, it was l\lelsen‘s
belief that patient explanation would eventually assuage any concerns, and, as the townspeople

got to know l\lelsen and Davis, they would see that those concerns had been misplaced

Both Welcli and Davis know l\lelsen well, and have known him for many years. lt is impossible
to imagine that Welch, who has family members living in Lexington, who maintains a second
home in Lexington and spends more than half of his weekends with his wife and children in
Lexington, where he is well-known in the community since kindergarten, and where he enjoys a
good reputation, would offer on a handshake access to a large property on l\/l ain St to a racist
looking to capture the town for neo-Nazis by flooding it with heroin addicts lt is equally
impossible to imagine that Davis, an African~American, would uproot hiinselffrom his home
town and set out with Nelsen on ajourney halfway across the country in the dead of winter on a
speculative effort to establish a beachhead for white supremacy A chance for the people of
Lexington to get to know Plaintiff never arrived, however, thanks to Facebook postings by Bill

Sellers312 and Deborah Starke Bullock.

 

42 The posting by Bill Sellers was “directly quoted language” from a letter l’laintiff had written him six months earlier

seeking his support for the effbrt. Sellers never responded When he posted the L‘directly quoted language”1 he posted thc
entire letter but omitted this sentence1 "While the program will address the particular challenges faced by white men, we
will accept males ofany race with a heroin addiction and who arc seeking help."

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Tize SPLC enters the picture

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Sometime during the second week of lanuary, local resident Deborah Starke Bullock came
across one or more of the attacks on l\lelsen by the SPLC from 15-20 years earlier alleging
Nelsen was anti-immigrant, racist, and in the pay ofneo-Nazis. Bullock posted the SPLC
attacks on Nelsen on the Facebook group, Lexington Bulletin Board. The effect was immediate
What had been a vigorous on-line question and answer instantly transformed into a howling
mob demanding Nelsen be run out of town. The public concern having to do with “bringing

drug addicts to Lexington” disappeared and “white supremacy" was the only issue.

Word of the controversy reached the Southern Poverty Law Center, soinehow, which quickly
repackaged the old attacks updated to fit the current situation and re-pub|ished them in an
article titled, “Anti-immigrant activist Craig Nelsen resurfaces ln Missouri, attempting to

start boxing club for opioid addicts1743 on .lanuary 24, 2018 on the SPLC's l-latewatch blog.

The January 24 article reads:

Craig Neisen, a iongrin-re anri-ininiigrant activist with a history ofproinofing
white nationalist ideais, has restrrfaceci in Lexington. Mis.s‘onri, after years

ofinacr‘ivify.

Neisen, tire former leader ofthe ami-immigrant grotip, ProjectUSA. is
attempting fo Start a "boxing Club "foi' "nigh iQ white male heroin
addicts ” in a fetter Sent to a Le)t'ington resident in Sepfeiirbei' of 201 7.

non/even Neisen claimant “W)’iiie tire program will address the particular

 

43 https:i/w\vw.splcenter.orghatewatch/20l S/'()l /24/anti-immigrant-activist-craig-nelsen-rcsurt`aces-missouri-attcmpting-

start-boxing-club

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challengesjaced by i-vhife nien. we will accept males ofany race with a

heroin addiction who are Seeking help. "`“

Nelsen s scheme for his "Robinson Jeffers Boxing Club, " named after the
Ainerican poef, would see male "high-lQ " opioid addicts pay Nelsen $l<§'$ a
week for a l 3-weelr program consisting ofa ".stricf daily regimen of
exercise a healthy diet, and rigorous academic Sfudy. Such. study would
include higher mathematics literature philosoph_v, biography music
history and poetry. ” At the core ofNelsen ls proposed program is boxing
which he Says, “reaches a i-nan that when lh‘e throws a ptrnch, a nran

punches bac/c "

Nelsen `s fixation on high lQ is an age-old white nationalist rrope. lnfacr, in
2002, his and-immigrant group Projeci‘USA received $l 0, 000 in funding
_h'oin the Pioneer Fr-rnd_, a group Started in l 93 7 to pursue "race

betterment " For decades iljunded studies ofrace and intelligence as well
as eugenlcs. the "scr`ence" of breeding superior human beings that was
discredited by various Na.zi arroci/ies. lt has supported inany ofthe leading
race scientists of the last several decades as i-vell as anri~nninigranr groups
Such as the FederarionjorAnicrican lnunigrarion Reforrn (FA!R). Nelsen

once sat on FAIR 'S advisory board

Nelsen started ProjecrUSA in l 997 in New York. The group made a name for
itself by sponsoring racist billboards One on display in New Yorlr City

depicted a white boy and the ivords, "lininigrarion is doubling U.S.

 

44 This was the same letter referenced earlier from which Bill Sellers posted "directly quoted language".
2 7 o |` ti §

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population in my lifetime (Please don't do this to us Congi-'ess). ” The group

claimed 3000 members but went dormant in the mid-ZO()Os.

A number ofLexington fs 4,()0() residents are not happy at the prospect of
Nelsen relocating to their town and setting up this club. One resident
compared Nelsen s arrival in Lexington to that ofneo»l\lazi Craig Cobb. who
attempted to start a whites-only colony in the tiny town ofLeith. l\lorth

Daliota_, in 20l2.

Thougli Nelsen is not a neo~Nazi. he is certainly sympathetic to the white
nationalist cause ln a letter he sent to residents announcing his scheme,
tVelsen wrote, "l believe the devastation among white males is the
predictable result of decades of white male bashing in popular culture By
the time a 1-vhite male graduates rom college, he has been subjected to
assaults on his dignity his manhood, his history, and his culture. " Later in
the letter, Nelsen claimed the club is open to all races, but he isn `t
convincing anyone. Articles on the archived ProjectUSA website by Nelsen

include subjects such as 'The White Minority. "

Before Nelsen presented his plan at a Planning and Zoning Con-imittee
meeting, on January l 6, not a lot was known about the club, aside from an
interview he gave to local media and online images of letters he sent to
community members The meeting drew a large crowd. but in the week
since, Nelsen as only resorted to getting in virtual boxing matches with
residents and his grand plan for Lexington remains at least for now,

between rounds

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The SPLC's January 24 ‘“Hatewatch” article terriiied many local residents7 who were misled by
the article into believing the two men cleaning up the old “Snooze-U-Lose” on Main St were
white supremacists on a secret mission to establish a Nazi recruitment center right next to the

l\/[aid-Rite Cafe.45

Though Nelsen and Davis hadn't even started construction at the location, they were served with
a stop work order from the city of Lexington threatening them with arrest if they didn't stop

construction.”“‘

Pat Welch, the owner of the property and a Lexington native, who supported Nelsen‘s effort,
and who had been defending Nelsen in the town and reassuring nervous city officials and
residents by vouching for his character, was shaken by the SPLC's attack to the point he

expressed his view that it was time to throw in the towel.

Bob Levy, a popular local football coach who works with troubled youth and who had been
enthusiastic about the programieven consenting to appear in a fundraising video47 for it and
placing his own gym at RJBCS service_stated on Facebook that the “revelations” about Nelsen
were “scary” and that he would not have done the video had he known. Several residents

expressed sympathy for Levy at having been “duped” by Nelsen into doing the video. Nelsen

 

45 This and many other examples proving claims made throught this complaint will be shown by Facebook postings.
46 A young father from Lexington with a winning personality and long struggle with heroin addiction happened to be there

when the city oiiicial arrived to serve Plaintiil` with the stop work order. The young father had been discussing his
participation in the effort with Plaintiffinc-luding making this fund-raisin0 ad for kickstarter (which rejected R.IBC after
SPLC defamatory lettcr). He was excited about the program, telling Nelsen and Davis something they had already heard
many times from addicts, from addicts' loved ones, and from law enforcement professionals when they heard about the
R.IBC program: from the minute he first read about the program, he knew it was exactly what he'd always needed He
had even been able to withstand the controversy swirling around their effort, having satisfied himself through personal
investigation as to Nelsen’s and Davis' characters Here is an agreement he was set to sign. But with the publication of
the defamatory statements and the city serving Plaintii'l" with the stop work order right in front ofhim, he lei`t, and,
despite repeated attempts1 neither Nelsen nor Davis saw or spoke with him again. Here is an unaclmowledged lanuarv
26 letter to the city recountng the incident and requesting the stop work order be rescinded

47 https:llwww.youtube.coin/watch?v=led3hCoXGo

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removed the fundraising video and did not air it again.

Numerous posts on Facebook excoriated Nelsen, calling him names, and expressing extreme

displeasure at his presence in town. Some Facebook posters posted Nelsen's physical location.

On the night of January 27, Nelsen was in front ofthe store when what appeared to be a car
occupied by young white males drove by. One ofthem rolled down the window and yelled

“racist bastard" at Nelsen.

Doug Booker, the owner of the Facebook group that served as a community bulletin board, met
with Nelsen and Davis. Afterward he posted his impression that Nelsen had been unfairly
maligned and uploaded a picture ofhimself standing between Nelsen and Davis. Some residents
were so enraged at Booker's failure to condemn Nelsen that they quit his group and formed a

rival Facebook group.43

On Wednesday, January lOth, Nelsen and Davis met with Olivia O’Dell, a reporter for the
Richmond Times, for about two hours at The Big Muddy, a local coffee shop. Afterwards, she,
too, tried to defend Nelsen against the scurri]ous charges from the SPLC, saying her impression
ofNelsen was not congruent with the person portrayed in the SPLC's attack on him. For that,

she Was subject to abuse and ridicule on line, even from her own mother

ln February, as Nelsen was walking in broad daylight toward the Cenex gas station on Hwy 13,

Someone yelled from a passing car, “Go hoine, Nazi. We don't want your shit here.”49 Nelsen

 

48 Plaintiff, who was still trying to reason with the people misled by Defendant, attempted to join that new group, too, and

was rejected and ridiculed for even trying.

49 Plaintiffs theory regarding the causes behind the opioid crisis might have merit, or he might be a crackpot, but given the

scale of human suifering at issue, it is an outrage against human decency that Defendant's \vell-honed method of
character assassination and defamation prevented even a simple test of Plaintifl`s theory. What1 other than a deep
animus, could explain why anyone would object to an attempt-any attempt_to alleviate the undeniablc, documented,

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did not want to give up this marvelous opportunity that could do so much good for so many
families_, and had such financial promise besides, but having vicious slurs yelled at you by

complete strangers is very demoralizing.

Ryan Wilson

64. Just after dawn one cold Saturday morning, February 17, 2018, Nelsen and Davis were in front
of the l\/Iain St location getting the van ready to go look for weathered boards. (They were
exploring a possible alternative business use of the building with which to generate an income
while the locals got to know them, after which they hoped to be able to start up the RJBC.) Next
door, at a 24-hour laundromat, Ryan Wilson had spent the night keeping warm, but had been
made to leave. He approached N`elsen and Davis and inquired whether they had any work for
him. They did not have any work available, but told him they did, and bought him some

breakfast at the McDonald's up the street.

65. Wilson told Nelsen and Davis that he had grown up a couple ofblocks from the l4l 9 l\/lain St
location, often playing pick-up football as a youth in the park across the street. l-le knew the
town well and where to look for weathered boards He was 24 years old, intelligent, addicted to
heroin, and the father of an infant boy. He spent the morning with Nelsen and Davis collecting
old boards.50 After returning to 1419 Main St., where Wilson neatly stacked the small pile of

wood, Wilson and Davis went next door to the l\/laid Rite diner and talked for four more hours.

66. Davis possesses a special ability to listen well. When Davis returned, he stated to Nelsen that, in

 

ongoing sutfering of other human beings‘? lt seems clear that the real social threat the lannary and Fcbruary events in
Lexington, l\/lissouri exposed was not that Plaintiff has too much love for high lQ white men, it was that Defendant has
too much hate for them.

50 Plaintiff and Wilson http://robinsonieffersboxingclub.com/librarv/splc/rvan_wilson_craia_neisen_lexington_mo_feb-l'/-

2018.php
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his view, Wilson was truly ready to turn his life around Wilson was excited about the Robinson

Jeffers Boxing Club and wanted to go through the program.

Nelsen and Davis remained cleaning in the location until late in the evening February 17, 2018.
Between 10:00 pm and midnight, Wilson stopped by and asked Nelsen whether he could spend

the night in the location to stay warm as the temperature that night would drop below freezing

Lexington was still inflamed by the SPLC's attack on Nelsen, Nelsen and Davis had seen
messages online from residents suggesting the townspeople take matters into their own hands if
the city wouldn't get rid of the “Nazis on Main St”. In that toxic climate, Nelsen decided that if
a “client” were discovered spending the night at the store, it would be all the pretext authorities
needed to arrest Nelsen and Davis. Reluctantly, Nelsen denied Wilson shelter for the night, and
explained why. He asked Wilson to return early in the morning and they would figure out some

way to help him.

The next morning, Wilson did not return. By the afternoon, when he still hadn't shown, l\lelsen
and Davis were surprised and disappointed. Davis had been certain he would return. Later that
day, a woman who had befriended Nelsen and Davis stopped by the store with her parents She
knew Wilson from having been his baby-sitter when he was a toddler. She and her parents had
seen Davis and Wilson talking the day before in the l\/Iaid Rite diner. They had been struck by
the length of the conversation They were familiar with the program Nelsen and Davis were
attempting to implement, and with Wilson's struggles with heroin addiction, and they had been
encouraged at the thought Wilson may be getting his life turned around They thought Nelsen
and Davis would want to know that at about 2:00 am on a highway at the outskirts of town

Wilson had been struck and killed by a hit-and-run driver.

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Throwing in the towel

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ln the wake of Wilson's death, Nelsen and Davis's frustration grew at the sheer needlessness of
it. He and Davis had traveled to Lexington expressly to help distressed men like Wilson, but
had been prevented for political reasons_reasons supplied primarily by the SPLC's and Bill
Sellers' false and defamatory statements lt was an outrage that the SPLC could do so much
damage with such impunity. But continuing the effort to stay in lexington and make it work
had become untenable and, shortly after the accident, Nelsen and Davis headed back to the East

Coast.

Nelsen and Davis left with their funds depleted. They had had to spend their savings on motels,
food, utilities, and cleaning supplies over the two months they struggled to make the Robinson
Jeffers Boxing Club accepted But the controversy in Lexington after the SPLC's attacks made
it impossible to use the great location in L.exington for fundraising and it pulled the plug on

investment they had been counting on.

They went back to Baltimore intending to try to revive the program in Baltimore, but now they
were withoutjobs, money, or a place to live. Davis returned to DC, and Nelsen ended up living

in his van on the streets of Baltimore and remains homeless.

Nelsen's position is made more difficult by the ever-present SPLC venom that a simple Google
search turns up on him. At one point, for example, Nelsen was able to secure an office space in
a co-working environment in Baltimore called lmpact Hub. On the first day there, within the
first hour or two, staff at lmpact l-lub pulled up the SPLC's article attacking Ne]sen. They called

police and Nelsen was escorted out of the buildingl$]

 

51 Photo ofpolice escorting PlaiiitiH` from lmpact Hub http://robinsonieffcrsboxinUclub.com/librarv/splc/impactihub.r)hp

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74.

The SPLC describes itself as “seeking justice for the most vulnerable members of our society”_,
yet showed not just indifference to some of the nation's most vulnerable, but outright hostility to
Nelsen's effort to help them. lt isn't clear how the cause ofjustice is served by shutting down a
desperately needed effort to help addicts, but it is clear that what hundreds of the most
vulnerable members of our society who will die today from opioid abuse or suicide really

needed was a little compassion.

COUNT l

Defamation. Defendant falsely stated P|aintiff was not convincing anyone that the club was open to
all races.

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77.

78.

Comes now Plaintiff, and each ofthem, jointly and several|y, and for Count 1 ofthis petition for
damages against Defendant, and each of them, jointly and severally, and alleges and states as

follows

Plaintiff incorporates herein by reference each and every statement of the "Statements of Facts"

as though fully set forth herein.

Defendant was at fault in publishing the defamatory lanuary 24, 2018 article, “Anti-im migrant
activist Craig Nelsen resurfaces ln Missouri, attempting to start boxing club for opioid
addicts”, or, in the alternative, published the article and all statements cited herein knowing
they were false or with reckless disregard for whether they were true or false at a time when

Defendant had serious doubt as to whether they were true

Regarding the statement in the article, “Nelsen claimed the club is open to all races, bar he isn’t

Convinc.ing anyone "

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a) A reasonable factfinder would conclude that “he isn'r convincing anyone” is an assertion of

objective fact."53

b) The assertion “he isn'r convincin an 'one” is false as there were and are man in Lexinoton
b

who were convinced RJBC was to be open to men of all races.

c) That false assertion is hurtful in its own right because it places Plaintiffin a pariah position, but
Defendant amplifies its offense by using it to mislead the public into believing another

falsehood-that Plaintiff was lying when he "claimed the club is open to all races”.

d) Consider a structurally analogous statement in a different context. Suppose Julia wrote, "John

danned ne invited Bob to the party barr ne wasn't Convfncr`ng anyone "

i. After reading that statement, the typical reader would believe lohn probably hadn't invited

Bob to the party.

ii. But suppose it were discovered that, in fact, lohn really had invited Bob, the reader would
assume, while noting a possible undercurrent of hostility, the author, Julia, as well as the

unconvinced others, had made some kind of mistake

iii. lf the reader then found out that there actually were some who were in fact convinced John
had invited Bob to the party and, therefore, lulia's claim that rlohn wasn't convincing anyone
was false, the slight undercurrent of hostility the reader had detected would suddenly seem

like a strong possibility of hostility.

iv. lf the reader then further discovered that .lulia actually had no factual basis for stating that

 

52 The determination of whether a statement is a pure opinion or an assertion of fact is a question of law_ Nazeri v. l\/lissouri
Vallcy Collcgc, 860 S.W.Zd 303 (Mo. Banc 1993). The test applied to determine ifa statement is opinion is "whetlicr a
reasonable factfinder could conclude that the statement implies an assertion ol`objective fact." ld.; See, Milkovich v.
Lorain Journal Co., 497 U.S. l, 18-19, ll() S.Ct.2695,2705-27(16, lll L. Ed. 2d l (1990).

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79.

80.

lohn wasn't convincing anyone_she just made it up_the hostility the reader had detected

would suddenly seem certain

v. And then, if the reader went on to discover not only was the claim false, but Julia knew it
was false and made it anyway, the reader would conclude_correctly_that .lulia had acted

with actual malice toward lohn.

vi. Thenceforth, anything lulia said about John would be in light of the actual malice observed
With Julia's state of mind established the reader would have a truer understanding of the
meaning, context, and intent behind Julia’s sentence, "Jonn claimed lie invited Bob to the
party but ne wasn't convincing anyone ” and, by analogy, Defendant‘s state of mind can be

deduced to establish the actual malice Defendant bears toward Plaintiff53 l

The first clause in Defendant's statement, "Nelsen claimed die club is open to all races, ” is true
in the sense Plaintiff‘s claim is true. Defendant uses the present tense “is” so Plaintiffis making
a claim about an imaginary club only in the planning stages, the plans for which clearly called
for being open to men in distress from any race. As Defendant notes, ‘“in a letter sent to a
Le,rington resident in September of20l 7, ltoivever, Nelsen claimed 'Wblle tire program will address
tire particular challenges faced by white men, we will accept males ofony race with a heroin
addiction who are seeking lrelp. ”’ lt is the credibility of that claim that Defendant seeks to
undermine with the second clause so as to leave the reader believing Plaintiff is lying and is opening

a whites-only club.

The second clause, “bnt he isn't convincing anyone was false and Defendant knew it was

false as can be shown from the article itself. lt is clear Defendant was familiar with the

 

53 llcre is a side-by-side comparison between Defendant's statement and an analogous

httn://robinsonief"r`ersboxinnclub.com/librarv/snlc/actual_malice_mcomparison.nhp

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83.

Facebook group, Lexington Bulletin Board, by the last sentence in the article: Tlie meeting drew
a large croi-vd. bill in tire week Since, Nelsen has only resorted to getting in virtual boxing matches
with residents and nis grand plan for Lexington remains, at leastfor now, between ronnds.
Defendant could only make the statement if it was monitoring the Facebook group. Among those
participating in the Facebook discussion were those who counseled a more moderate position, who
had read the website, recognized the potential for good and the undeniable need for something to be
done, and who pointed out that the R.lBC was open to men of any race. ln other words, they were
“convinced” by Plaintiff ThereforeJ Defendant knew that its claim that Plaintiffwasn't convincing

anyone was false

The defamatory statement was read by the public, causing damage to Plaintiffs reputation, and

continues to cause damage

The actions of Defendant, as set forth above, were outrageous because of Defendant's evil
motive or reckless indifference to the rights of others, including Plaintiffherein, or in the
alternative showed complete indifference to or conscious disregard for the rights of others, such
as Plaintiff herein, or Defendant knew or had information from which Defendant, in the
exercise of ordinary care, should have known that their conduct created a high degree of
probability of harm to Plaintiff, and Defendant thereby showed complete indifference to or
conscious disregard for the rights of others, such as Plaintiff herein, thereby justifying an award
of punitive damages against De fendant in an amount sufficient to punish Defendant and to deter

Defendant and others from like conduct

As a direct and proximate result ofthe actions of Defendant described herein, Plaintiff sustained

and will in the future continue to sustain, the following injuries and damages (the exact amount

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of which is unknown at this time): humiliation, public contempt, ridicule, aversion, disgrace,
emotional distress and anxiety, loss and damage to his reputation (both personally and
professionally), physical injury and emotional distress which is medically diagnosable and
medically significant, a loss of his enjoyment of life, a loss of income which will continue into
the future, his earning ability has been permanently impaired, and an evil opinion of him has
been induced in the minds of right-thinking persons, and deprived him of their friendly

intercourse in society

QQM

Defamation by implication. Defendant falsely implied Plaintiff was opening a whites-only club.

84.

85.

86.

87.

Comes now Plaintiff, and each of them, jointly and severally, and for Count ll of this petition
for damages against Defendant, and each of them, jointly and severally, and alleges and states

as follows

Plaintiff incorporates herein by reference each and every statement of the "Statements of Facts"

as though fully set forth herein.

Defendant was at fault in publishing the defamatory January 24, 2018 article, “Anti-im migrant
activist Craig Nelsen resurfaces In Missouri, attempting to start boxing club for opioid
addicts”, or, in the alternative, published the article and all statements cited herein knowing
they were false or with reckless disregard for whether they were true or false at a time when

Defendant had serious doubt as to whether they were true:

Defendant included the following passage in its January 24. 2018 Hatewatch article,

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Though Nelsen is not a neo-Nazi. he is certainly sympathetic to the white
nationalist cause ln a letter he sent to residents announcing his scheme
Nelsen wrote "l believe the devastation among white males is the
predictable result oj`decades ofwhite male bashing in popular culture
By the time a white male graduates ppm college he has been subjected
to assaults on his dignity his manhood, his history and his culture "
Later in the letter, Nelsen claimed the club is open to all races, but he
isn ’t convincing anyone Articles on the archived ProjectUSA website by

Nelsen include subjects such as "The White Minorily ”`”‘

88. Defamation by implication can occur where “[a] combination of individual statements which in
themselves may not be defamatory might lead the reader to draw an inference that is damaging
to Plaintiff’.55 Defamation by implication is premised not on direct statements but on false

suggestions, impressions and implications arising from otherwise truthful statements56

89. No reasonable person could honestly deny the damage inflicted by Defendant's statement when
taken as a whole and “the court must give the disputed language a fair reading in the context of

3157

the publication as a whole.

90. A reader walks away from the passage above with the false belief that Plaintiff is attempting to

 

54 This is typical sleight-of-tongue from the Defendant. The subject (the white minority) is written with title-style
capitalization to mislead the reader into thinking Nelsen wrote an article titled "The White l\/iinority". Nclsen wrote no
such article Hc did write an article, however, titled "lmmigration and the pending white minority"
[https://www.ocala.com/articlelLK/20080824l0pinioil/60424l323/08/] which discusses the impact of public policy on
the nation's demographics. The SPLC would find it more to its goal of character assassination, clearly, if the reader was
left with the false impression that Nelsen had written a article focused only on race, rather than a civic-minded and
responsible article about the impact of a public poliey.

55 Herbert v. Lando, 781 F.2d 298, 307 (Zd Cir. 1986)

56 Armstrong v. Simon & Schuster, 85 N.Y.Zd at 380#381, 625 N.Y.S.Zd 477, 649 N.E.Zd 825

57 Armstrong v. Sirnon & Schuster, lnc.1 85 N.Y.Zd 373, 380 (1995)

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start a whites-only treatment center in Lexington. Using false equivalence, non sequitur, and a
fraudulent appeal to the authority of the maj ority_the tools of the propagandist_Defendant,
after publishing a quote from a local resident comparing Plaintiffs arrival in Lexington to start
the Robinson Jeffers Boxing Club to a neo-Nazi‘s arrival in North Dakota to found a whites-
only colony (thus linking in the minds of readers “neo-Nazi” and “whites only”), began with the

clause

a) “Though Nelsen is not a neo-Nazi”, which establishes the Defendant as the honest meta

observer while simultaneously qualifying the disclaimer, Nelsen is not a neo~Nazi.

b) Defendant then draws two false equivalencies

i. between being a neo-Nazi and having sympathy for white nationalist ideals and

ii. between having sympathy for white nationalist ideals and noticing anti-white bigotry in

the popular culture.

Together the two back-to-back false equivalencies produce a third false equivalency

iii. between noticing anti-white bigotry and being a neo-Nazi.

c) Next, after noting that Plaintiff“claims” the club will be open to men of any race,
Defendant appeals to the authority of the majority58 to refute Plaintiff with the false

statement of fact: “he isn't convincing anyone”, i.e., everyone believes Plaintiff intends the

 

58 The public, therefore, among a democratic people, has a singular power, which aristocratic nations cannot eonceivc; for
it does not persuade others to its beliefs, but it imposes them and makes them permeate the thinking of everyone by a
sort of enormous pressure of the mind ofall upon the individual intelligence De Tocqueville, Democracy in Ainerica

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Cl)

club to be whites-only50 Defendant is savvy enough to know that public opinion bears all
before it in America60 and it is “very difficult to believe what the masses reject and to

profess what they condemn.”°'

ln the fourth sentence Defendant provides the evidence, but not the evidence by which the
reader can determine whether Plaintift`s club is whites-only Rather, Defendant provides the
evidence by which the majority determined whether Plaintiff's club is whites-only Thus the
reader is relieved of the effort and risk of making a determination as to the truth or falsity of
the question, and so cares little whether the proof actually has any relation to the question it
is alleged to have answered The proof here offered is the insinuated title of a ten-year-old
article Plaintiffwrote for a newspaper in Florida. Defendant didn‘t cite anything in the
article that wouldjustify using it as proofthat Plaintiff would lie a decade later about
whether the Club he was Opening would be open to non-whites, and that`s because there was
nothing in the article that lent itselfto that end. So, Defendant simply insinuated a title62 as
proof and left it at that. Defendant is well-aware it could have offered a cookie recipe as
proof and the typical reader would be willing to accept “whatever the majority accepted”

without looking further.

The typical reader will come away from leading this paragraph with the false impression that

Plaintiff is a neo-Nazi or white supremacist who intends to open a whites-only club on l\/lain St

in Lexington, l\/lissouri and numerous references to Plaintiff in Facebook postings bear this out.ii

 

59 Similarly to the argument in Count l.

60 There is a reason rival political campaigns battle over who is leading in the polls. Being in the lead makes a candidate
more attractive to voters.

61 DeToc-queville, Democracy in Anierica

62 The actual title of the article was “lmmigration and the pending white minority" which Defendant changed lo "The
White l\/Iinority” in the January 24, 2018 article. https:llwww.ocala.com/opinion/20080824limmigration-and-the-
pending-white-minority

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92.

94.

The statement cited herein as published by Defendant was false Furthermore, the statement was

read by the public causing damage to Plaintiff`s reputation and continues to cause damage

The actions of Defendant, as set forth above, were outrageous because of Defendant‘s evil
motive or reckless indifference to the rights of others, including Plaintiffherein, or in the
alternative showed complete indifference to or conscious disregard for the rights of others, such
as Plaintiff herein, or Defendant knew or had information from which Defendant, in the
exercise of ordinary care, should have known that their conduct created a high degree of
probability of harm to Plaintiff, and Defendant thereby showed complete indifference to or
conscious disregard for the rights of others, such as Plaintiff herein, thereby justifying an award
of punitive damages against Defendant in an amount sufficient to punish Defendant and to deter

Defendant and others from like conduct.

As a direct and proximate result of the actions of Defendant described herein, Plaintiff sustained
and will in the future continue to sustain, the following injuries and damages (the exact amount
of which is unknown at this time): humiliation, public contelnpt, ridicule, aversion, disgrace,
emotional distress and anxiety, loss and damage to his reputation (both personally and
professionally), physical injury and emotional distress which is medically diagnosable and
medically significant, a loss of his enjoyment of life, a loss of income which will continue into
the future, his earning ability has been permanently impaired, and an evil opinion of him has
been induced in the minds of right-thinking person.s, and deprived him of their friendly

intercourse in society

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COUNT lll

Defamation by endorsement Defendant endorsed the false view of Plaintiff as resembling a neo-
Nazi attempting to start a whites-only colony in North Dakota.

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99.

Comes now Plaintiff, and each of them, jointly and severally, and for Count 111 of this petition
for damages against Defendant, and each of them, jointly and severally, and alleges and states

as follows

Plaintiff incorporates herein by reference each and every statement of the 11Statements of Facts"

as though fully set forth herein.

Defendant was at fault in publishing the defamatory January 24, 2018 article, “Anti-immigrant
activist Craig Nelsen resurfaces In Missouri, attempting to start boxing club for opioid
addicts”, or, in the alternative, published the article and all statements cited herein knowing
they were false or with reckless disregard for whether they were true or false at a time when

Defendant had serious doubt as to whether they were true:

1n Defendant‘s January 24, 2018 article there was the following:

A number of Le.rington `s 4, 000 residents are not happy at the prospect of Nelsen relocating to
their town and setting up this club. One resident compared Nelsen s arrival in Lexington to that
of neo-Nazi Craig Cobb, who attempted to start a whites-only colony in the tiny town ofLeith,

North Dakota. in 2l)l2_

Citing a Lexington resident who compares Plaintiff to a neo-Nazi who moved to l\lorth Dakota
is not only guilt by association, it's guilt by association even where there is no associationia

contemptible enough smear tactic in itself and affirmative evidence Defendant intended the

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defamatory inference that Plaintiff is a neo-Nazi. Defendant‘s attempt to inoculate itself against
legal action by inserting a renunciation ofthe view itjust got done publishing fails because,
beginning the next paragraph, the renunciation is expressed in a concessive adjunct “Though
Nelsen is not a neo-Nazi...”, which is subordinate to the main clause of the sentence, “he is
certainly sympathetic to the white nationalist cause.” Defendant‘s renunciation, therefore, is far
from unequivocal leaving open the possibility Defendant intended the defamatory inference that

Nelsen is a neo-Nazi.

100. The possibility of Defendant‘s intent becomes certain with affirmative evidence suggesting
Defendant endorses the defamatory inference that can be taken from the Lexington resident's
quote comparing Plaintiff to a neo-Nazi attempting to start a whites-only colony in North
Dal<:ota.63 Elsewhere in the article, Defendant accuses Plaintiff of having a “t`ixation on high lQ”
then ties the “tixation” to actual Nazis, and even Nazi atrocities. “]nfact. in 2002 his anti-
innnigrant group ProjeCtUSA received $l 0,0UO in fnnding_froni the Pioneer thnd, a groin started
in 1937 to pi.trstie "race betterment " For decades it funded studies of race and intelligence as well
as eagenics, the "science" of breeding superior human beings that was discredited by various Nazi
atroeities. ” That outlandish rhetoric is the additional affirmative evidence needed to satisfy the
claim Defendant endorses the defamatory inference embedded in the Lexington resident's quote

comparing Plaintiff to a neo-Nazi attempting to start a whites-only colony in North Dakota.

101. The article is therefore a published endorsement of the view that Plaintiff is a neo~Nazi trying to

start a whites-only club in Lexington. While the epithet “neo-Nazi” is so injudiciously tossed

 

63 “[l]f a communicationq viewed in its entire context, merely conveys materially true facts from which a defamatory
inference can reasonably be drawn, the libel is not established But if the communication, by the particular manner or
language in which the true facts are conveyed, supplies additional, affirmative evidence suggesting that Defendant
intends or endorses the defamatory inference, the communication will bc deemed capable ofbearing that meaning”
White v. Fraternal Order ofPolice, 909 F.2d 512, 520 [D.C.Cir.lQQO];see .lanklo\v v. Ne\\»’sweek, lnc., 759 F.2d 644,
648-649 [Sth Cir.1985],ce11. denied 479 U.S. 883, 107 S.C1.27'2,93 L.F,d. 2d 249 [1986]

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102.

103.

104.

105.

about in modern America it resists any true-or-false assessment (half the country routinely calls
President Trump a Nazi), the charge that Plaintiff was attempting to start a whites-only club is a
statement of fact the truth or falseness of which can certainly be assessed The statement is

false and injurious to Plaintiff and therefore Defendant endorsed the defamatory statement

Defendant's defamatory statement has caused an evil opinion of Plaintiff to be formed in the
public mind as was made amply clear subsequently from the comments both on line and on the

Sll‘€€l.

Not only is the statement false, Defendant knew it was false as is made clear by Defendant's
demonstrated familiarity with the Facebook group's postings, where there were examples of

those who were convinced that the RJBC would be open to men of any race.

The statement cited herein as published by Defendant was false. Furthermore, the article was
read by the public and Plaintiffs reputation has been damaged (Plainti ff has literally been called

a Nazi on the street by complete strangers) and continues to be damaged.

The actions of Defendant as set forth above, were outrageous because of Defendant's evil
motive or reckless indifference to the rights ofothers, including Plaintiff herein, or in the
alternative showed complete indifference to or conscious disregard for the rights of others, such
as Plaintiff herein, or Defendant knew or had information from which Defendant, in the
exercise of ordinary care, should have known that their conduct created a high degree of
probability of harm to Plainti'ff, and Defendant thereby showed complete indifference to or
conscious disregard for the rights of others, such as Plaintiff herein, thereby justifying an award

of punitive damages against Defendant in an amount sufficient to punish Defendant and to deter

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106.

Defendant and others from like conduct.

As a direct and proximate result of the actions of Defendant described herein, Plaintiff sustained
and will in the future continue to sustain, the following injuries and damages (the exact amount
of which is unknown at this time): humiliation, public contempt, ridicule, aversion, disgrace,
emotional distress and anxiety, loss and damage to his reputation (both personally and
professionally), physical injury and emotional distress which is medically diagnosable and
medically significant, a loss of his enjoyment of life, a loss of income which will continue into
the future, his earning ability has been permanently impaired, and an evil opinion ofhim has
been induced in the minds of right-thinking persons, and deprived him of their friendly

intercourse in society.

COUNT lV

Defamation. Defendant falsely stated Plaintiff is 'anti-immigrant'.

107.

109.

Comes now _Plaintiff, and each ofthem,jointly and severally, and for Count lV of this petition
for damages against Defendant, and each of them, jointly and severally, and alleges and states

as follows

Plaintiff incorporates herein by reference each and every statement of the "Statements of Facts"

as though fully set forth herein.

Defendant was at fault in publishing the defamatory January 24, 2018 article, “Anti-immigrant
activist Craig Nelsen resurfaces ln l\/Iissouri, attempting to start boxing club for opioid
addicts", or, in the alternative, published the article and all statements cited herein knowing

they were false or with reckless disregard for whether they were true or false at a time when

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111.

Defendant had serious doubt as to whether they were true:

Defendant, as a long-time advocate for the civil right of foreigners to move to the United States,
has a history oftagging any group or individual advocating against current levels of mass
immigration as “anti~immigrant”. The characterization of Plaintiff as “anti-immigrant" is a false
statement of fact in the same way a characterization of Jenny Craig as "anti-food” would be a

false statement of fact.

Plaintiff Nelsen 's responsible immigration group, ProjectU SA, advocated for an immigration
time-out to give the “assimilation magic a chance to work”. Congress could enact a time-out
tomorrow because immigration is just a government policy, but immigration zealots and
profiteers have made immigration into a sort of religious imperative Where once we spoke of
America's pioneering spirit, we now think of ourselves as a nation of immigrants But
immigration as a founding myth differs from the actual history of immigration to the United
States, which always included periodic time-outs in between waves of immigration. Time-outs
have always been a component of the American immigration success story and there is no
reason to suppose they shouldn't continue to be. The most recent time-out lasted from 1925 to
1965 during which time the country built a huge and stable middle class1 built the largest
economy the world had ever seen, built the space program that was about to land a rnan on the
moon, invented computers, extended civil rights to all Americans, built the interstate highway
system, achieved full literacy, had the highest life expectancy in the world, had the highest
standard of living in the world, fought and won a world war against two super powers
simultaneously, and turned the last great wave ofimmigrants into Americans. That is to say, the

legislation of the 19203 that implemented the last time-out was pro-immi grant in that it made a

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nation of immigrants into a nation ot`Americans by remaining true to the traditional US

immigration patterns

Organizations like the Southern Poverty Law C enter label those who advocate for remaining
true to the traditional immigration pattern as hate groups and extremists and stealth Nazis. And
even though this is the language of the zealot, it plays a very large role in maintaining our
current wave, which has now extended more than half a century_far beyond, in terms of sheer
numbers and length of time, any previous wave_and there isn't even the whisper of a time-out
on the horizon. ln Plaintiffs view, having arbitrarily eliminated without discussion the time-out
component of our immigration tradition, Congress has set the nation on a problematic, even
dangerous course_a reckless and irreversible blind plunge forward, unprecedented in human
history, the consequences of which are completely unpredictable Current policy, therefore, is

both anti-American and anti*immigrant.

Plaintiffs concerns about immigration are reasonable lt should be clear that it is possible to
have such concerns about current immigration policy without needing to be driven by hatred of
the immigrants themselves But Defendant attacks anyone who criticizes current policyj
savaging anyone who suggests a time-out or any reduction at all in either legal or illegal
immigration as ami-immigrant and a “hate group”. These unwarranted attacks are a primary

impediment to common sense policy changes.

Defendant uses the term “anti-immigrant” against Plaintiff Nelsen four times in the January 24
article to ensure the negative connotation of “hate” Plaintiff Nelsen bears towards individual
immigrants isn't missed by the reader. But while Defendant makes liberal use of the term “anti-

immigrant” to aid in Defendant's overall goal of casting PlaintiffNelsen as a loathsome and

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hate-filled person, Defendant would be unable to produce a single example of Plaintiff Nelsen
being actually anti-immigrant. Indeed, the extreme opposite is the case. Plaintiff Nelsen, as co-
owner of several San Loco restaurants in l\/lanhattan in the 19805 and 19903 employed many
immigrants, both legal and illegal. Some of the immigrant workers were with Plaintiff Nelsen
from the first day the business opened during a February blizzard in 1986 at 129 Second Ave in
New York City until PlaintiffNelsen sold out his share ofthe businesses in 1999. Unlike many
employers of immigrant labor, PlaintiffNelsen paid his immigrant workers the same as his
native-born workers and was rewarded with 'tierce loyalty. Unlike many employers of
immigrant laborior non-immigrant labor, for that matter_PlaintiffNelsen was invited to, and
attended, his immigrant workers'_fiesras de Nnvi`n’ad in their homes in Queens. When the wife of
one immigrant worker gave birth, the proud father took Plaintiff Nelsen up to see his new
daughter at Beth lsraei‘s maternity ward. Two brothers from the Oaxaca region of Mexico, who
worked for Plaintiff Nelsen, when they learned Plaintiffl\lelsen was planning a trip to their
home region, entrusted Plaintiffl\lelsen with suitcases full of toys and gifts and letters and
money to deliver to their family back in Mexico. The village was so remote that Plaintiff Nelsen
was the first white man to visit it, though a white woman, he was told, had visited in the 1950s
There was no actual road to the remote village, just an unmaintained track hugging the sheer
sides of mountains There was no telephone service there, either, and, while there was weekly
mail service, the brothers didn't use it as it was unlikely any letter or package originating from
the US would make it past unscrupulous postal workers After a harrowing journey, Plaintiff
Nelsen finally reached the brothers' home village, where a small crowd of villagers helped
guide him to the Aragon residence. The family had no idea Plaintiffl\lelsen was coming and the

father was shocked at the sight of Plaintiff Nelsen at his door. Plainti ff Nelsen quickly opened

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one of the suitcases and displayed the contents As soon as the father realized they were from
his two sons, from whom he hadn't heard in years, he closed the suitcases back up. Though he
must have been dying to read the letters and explore the contents of the suitcases, hospitality to
the stranger came first. He handed the suitcases to a young son, telling him to put them away.
Then he invited Plaintiffi\lelsen into his house to eat and drink. The mother made delicious
hand-made tortillas with local spices in an open fire pit in the courtyard in front ofthe adobe
house and they ate while Plaintiffl\lelsen struggled to give them news in Spanish ofAngel and
Reynaldo “Ray” Aragon. The father didn't even know the two brothers were in New York City,
or whether they were even alive. When it was time to go, the father attempted to give Plaintiff
Nelsen a gift, which was a huge live turkey that had been strutting around the courtyard
PlaintiffNelsen thanked him sincerely, but declined the gift explaining he was certain he would
be unable to take it on the plane with him back to l\lew York. The father then wept and made
PlaintiffNelsen promise him he would look out for his sons in New York City and be their
protector Plaintiff Nelsen promised, and meant it, and did. Defendant‘s charge that Plaintiff

Nelsen is “anti-immigrant” is as contemptible as it is false.

The statements cited herein as published by Defendant were false. Furthermore, the article was

read by the public and Plaintift‘s reputation has been damaged and continues to be damaged.

The actions of Defendant, as set forth above, were outrageous because of Defendant‘s evil
motive or reckless indifference to the rights of others, including Plaintiff herein, or in the
alternative showed complete indifference to or conscious disregard for the rights of others, such
as Plaintiff herein, or Defendant knew or had information from which Defendant, in the

exercise of ordinary care, should have known that their conduct created a high degree of

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probability of harm to Plaintiff. and Defendant thereby showed complete indifference to or
conscious disregard for the rights ofothers, such as Plaintiff herein, thereby justifying an award
of punitive damages against Defendant in an amount sufficient to punish Defendant and to deter

Defendant and others from like conduct.

l li'. As a direct and proximate result ofthe actions of Defendant described herein, Plaintiff sustained
and will in the future continue to sustain, the following injuries and damages (the exact amount
of which is unknown at this time): humiliation, public contempt, ridicule, aversion, disgrace,
emotional distress and anxiety, loss and damage to his reputation (both personally and
professionally), physical injury and emotional distress which is medically diagnosable and
medically significant, a loss ofhis enjoyment of life, a loss ofincome which will continue into
the future, his earning ability has been permanently inipaired, and an evil opinion of him has
been induced in the minds of right-thinking persons, and deprived him of their friendly

intercourse in society.

COUNT V

Defamation. Defendant falsely claims PlaintiffNelsen's organization put up racist billboards

ilS. Comes now Plaintiff, and each ofthem, jointly and severally, and for Count V of this petition
for damages against Defendant, and each of them, jointly and severally, and alleges and states

as follows

l l9. Plaintiff incorporates herein by reference each and every statement of the "Statements of Facts"

as though fully set forth herein.

120. Defendant was at fault in publishing the defamatory January 24, 2018 article, "Anti-immigrant

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activist Craig Nelsen resurfaces 111 Missouri, attempting to start boxing club for opioid
addicts”, or, in the alternative published the article and all statements cited herein knowing
they were false or with reckless disregard for whether they were true or false at a time when

Defendant had serious doubt as to whether they were true:

121 . Defendant writes, “[Nelserr's] group irrode a namefor itselfby sponsoring racist billboards
One on display in New Yor)'r Cin depicted a white boy and the words 'Immigmrion is doublng
U.S. population in my lifetiiiie. "’ The billboards in question advertised a verifiable statistic from
the US Census Bureau and featured pictures of both white and non-white children The fact that
Defendant tries to paint the false picture that only white children were pictured shows

Defendant is interested in defaming, not informing.

122. Charging a person with being racist constitutes mere name calling because it does not contain a
provably false assertion of fact as is required to state a claim for defamation64 However,
charging a person with having membership in a racist organization like the Ku Klux Klan, for
example, is actionable.65 A false charge of membership in a racist organization is actionable
because it bathes the person so charged in obloquy as a racist, which harms the reputation, and
it contains an assertion of verifiable fact. lt stands to reason that a false charge of running a
racist organization%i.e., an organization that makes a name for itself erecting racist billboards

jis actionable

123. lt may be objected that calling a billboard racist is no more actionable than calling a person

racist because the slur “racist” contains no provany false assertion of fact and is therefore only

 

64 Overhill Farms, lnc. V. Lopez, l9() Cal.App.4tli 1248, 1262 (4 Dist. 2010)
65 FORTE v. lONlES, United States District Court, E.D. Calil`ornia, l\/larch 191 20l3.

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name-calling, that is to say, opinion. From the First Amendment, absolute privilege is "accorded
statements ofopinion, which even ifmade maliciously or insincerely, do not give rise to a libel

cause of action_"6

6 l\/lissouri recognizes one exception to this general rule The privilege does
not apply when the statement of opinion implies the existence ofundisclosed defamatory
facts67 Defendant seeks to raise the term “racist” above mere vituperative opinion by alleging a
factual justification for the charge the billboards were racist: “sponsoring racist billboards One
en display in .New York Cin depicted a white boy An ordinary reader would assume the writer

was basing the statement on the basis of facts known to him showing the billboards were racist

and therefore the statement is capable of supporting a charge of defan"iation.68

124. Leaving aside the question of whether including the image ofa white boy on a billboard renders
the billboard racist, the statement is false by omission and clearly an attempt to mislead.
Defendant appears to justify calling the billboards racist by asserting a statement of fact:
billboards show a white boy. But the statement is false, therefore thejustification is fraudulent,
and because Defendant knew or should have known the statement was false, Defendant acts
with actual malice in asserting Plaintiffs organization made a name for itself putting up racist

billboards

 

66 Pape, 918 S.W.Zd at 380

6? l\lazeri, 860 S.W.2d at 311

68 Henry v. 1-1alliburton, 690 S.W.2d 775, 788 (Mo. banc 1985`,\; Diez v. Pearson. 834 S.W.?,d 250, 252(1\/10.App.
E.D.l992)

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Thousands of ordinary Arnericans contributed financial support to help ProjectUSA contract
with a wide array of billboard companies for hundreds of billboards These billboards appeared
in M`innesota, California, Arizona, Utah, New York, New .lersey, South Caro|ina, North
Carolina, Florida, Kansas, Michigan, Iowa, Colorado, and New Hampshire Every board
advertised important information about this important issue to Plaintiffs fellow citizens In
addition, Plaintiff was a frequent guest on radio programs from coast to coast, AM and FM,
black radio, white radio, big stations and small, nationally syndicated and single-market outlets
He also appeared numerous times on Fox, CNN, CSPAN, and many local and network
television news and public interest programs He gave countless interviews to reporters writing
for newspapers ranging from the Chariton High School student paper of Chariton, lowa to the
New fork Times. He gave speeches to activist groups and civic groups across the country, was a
featured speaker at the Florida Sheriffs Association's annual convention in Naples, Florida, and
testified before Congress. The idea the billboards were “racist” is absurd and damaging and the
attempt to justify the charge that PlaintiffNelsen founded a racist organization using that false

assertion of fact makes the statement defamatory

The statements cited herein as published by Defendant were false Furthermore, the article was

read by the public and Plaintiffs reputation has been damaged and continues to be damaged

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127. The actions of Defendant, as set forth above, were outrageous because of Defendant's evil
motive or reckless indifference to the rights of others, including Plaintiffherein, or in the
alternative showed complete indifference to or conscious disregard for the rights of others, such
as Plaintiffherein, or Defendant knew or had information from which Defendant, in the
exercise of ordinary care, should have known that their conduct created a high degree of
probability of harm to Plaintiff, and Defendant thereby showed complete indifference to or
conscious disregard for the rights of others, such as Plaintiff herein, thereby justifying an award
ofpunitive damages against Defendant in an amount sufficient to punish Defendant and to deter

Defendant and others from like conduct.

128. As a direct and proximate result ofthe actions of Defendant described herein, Plaintiffsustained
and will in the future continue to sustain, the following injuries and damages (the exact amount
of which is unknown at this time): humiliation, public contempt, ridicule, aversion, disgrace,
emotional distress and anxiety, loss and damage to his reputation (both personally and
professionally), physical injury and emotional distress which is medically diagnosable and
medically significant, a loss of his enjoyment oflife, a loss ofincome which will continue into
the future, his earning ability has been permanently impaired, and an evil opinion of him has
been induced in the minds of right-thinking persons, and deprived him of their friendly

intercourse in society

COUNT Vl

Malicious intent. Defendant unjustly defamed Plaintiff with the intent to completely destroy his
effort.

129. Comes now Plaintiff, and each ofthem,jointly and severally, and for Count Vl ofthis petition

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for damages against Defendant, and each ofthem,jointly and severally, and alleges and states

as follows

Plaintiff incorporates herein by reference each and every statement of the "Statements of Facts"

as though fully set forth herein.

Defendant was at fault in publishing the defamatory January 24, 2018 article, “Anti-immigrant
activist Craig Nelsen resurfaces In Missouri, attempting to start boxing club for opioid
addicts”, or, in the alternative published the article and all statements cited herein knowing
they were false or with reckless disregard for whether they were true or false at a time when

Defendant had serious doubt as to whether they were true:

In the January 24, 2018 article Defendant writes that “Nelsen...is attempting to start a 'boxing
club' for 'high IQ white male heroin addicts"’, neglecting to mention the other races Defendant
then uses the word “however” to signify contradiction to the truth, then has Plaintiff“claim” the
true thing that would exonerate him of the charge of racial discrimination To the typical reader,
Plaintiff is just lying and the club is really only for white males as Defendant asserted as a fact

independently verified

Defendant writes, “Nelsen’s fixation on high lQ_ is an age-old white nationalist trope.” First,
Plaintiff was not “lixated” on high lQ. Plaintiff made no mention of IQ on the RJBC website
except as it pertains to the aspect of addiction that is cognition-dependent. lt is Defendant that
seems lixated on the high-lQ component of the program, bringing it up three times in the

article, while explicitly invoking Nazisrn.

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138.

Defendant writes, "In_]‘act, in 2002. iris ann-immigrant group Projecr‘USA received $] 0,0()() in

funding/front tire Pioneer Frrnd, a group started in 193 7 to pursue 'race betterment "` 1937"?

Race betterment? The immediate association, of course, is Nazi Gerrnany. (This is a rehash of

the original SPLC attack on Nelsen in 2002.)

ln 193 7, there were lots of groups, e.g., Planned Parenthood, interested in “race betterment”. So

what?

Plaintiff used to live across the street from a synagogue on the Upper East Side, and the week's
sermon would frequently be on subjects, e.g., mixed marriages, as they pertained to the

betterment of the .lewish people 80 what‘?

While Plaintiff was living in China, they relaxed the one-child policy on the grounds that it was
lowering the collective lQ of the Chinese because the low-IQ peasants were the only ones

having more than one child. So what?

The truth is, outfits like the SPLC have used the l\lazi atrocities to discredit any white person
who shows the same concern for the well-being of his own people as _lews show for .lews, or

Chinese show for Chinese.

The SPLC has never once condemned the synagogue on E 79“‘ St for pursuing race betterment
for Jews. But they will reach back to 2002 to find a single donation from a single foundation

and then reach back two generations to the _foundation's beginnings in 1937 and the views ofa
single board member interested in race bettermentH-whose views would not look out of place

today in a synagogue on E 791h Stiand use that as evidence in 2018 to smear Plaintiff as a

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white nationalist, racist l\lazi.

Here's the honest truth: Plaintiff happens to be a high-IQ white male former heroin addict.
There is currently a national crisis involving high-IQ white male heroin addicts Not
surprisingly, Plaintiff recognizes them, empathizes with them, and understands them because he
is one of them. He feels motivated to help them because he recognizes them, empathizes with
them, and understands them. lie is acting, in other words, like a normal, healthy, well-
socialized, compassionate, civic-minded human being. But Defendant implies and endorses the
view this attempt to relieve the suffering of men in distress makes him a neo-Nazi. Despite
Plaintiff recognizing there are those of other races also suffering, and explicitly stating on his
website and elsewhere that the program is open to men of any race, Defendant makes readers
falsely believe, in an article written to be as destructive as possible, that Plaintiff, motivated by
racism and hatred of non-whites, is opening a whites-only club. The indifference to the truth
about RJBC, and the willingness to engage in such scorched-earth vitriol against RJBC,
confirms SPLC Senior Fellow l\/lark Potok's assertion that the goal of Defendant is to
“completely destroy”. By this, the malicious intent to derail the RJBC unjustly through a

defamatory attack is shown.

The actions of Defendant, as set forth above, were outrageous because of Defendant's evil
motive or reckless indifference to the rights of others, including Plaintiff herein, or in the
alternative showed complete indifference to or conscious disregard for the rights of others, such
as Plaintiff herein, or Defendant knew or had information from which Defendant1 in the
exercise of ordinary care, should have known that their conduct created a high degree of

probability ofharm to Plaintiff, and Defendant thereby showed complete indifference to or

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conscious disregard for the rights of others, such as Plaintiffherein, thereby justifying an award
of punitive damages against Defendant in an amount sufficient to punish Defendant and to deter

Defendant and others from like conduct.

142. As a direct and proximate result of the actions of Defendant described herein, Plaintiff sustained
and will in the future continue to sustain, the following injuries and damages (the exact amount
of which is unknown at this time): humiliation, public contempt, ridicule, aversion, disgrace,
emotional distress and anxiety, loss and damage to his reputation (both personally and
professionally), physical injury and emotional distress which is medically diagnosable and
medically significant, a loss ofhis enjoyment oflife, a loss of income which will continue into
the future, his earning ability has been permanently impaired, and an evil opinion ofhim has
been induced in the minds of right-thinking persons and deprived him oftheir friendly

intercourse in society.
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143. l\/lissouri courts require a showing of actual damages in all defamation cases.""’ To demonstrate
actual damages, plaintiffs must show that defamatory statements caused a quantifiable
professional or personal injury, such as interference with job performance psychological or
emotional distress, or depression70 Actual damages include loss of savings (315,000), loss of
future earnings ($640,000), and loss of future value ($4,100,000)_ Plaintiffseeks $4,755,000 in

actual damages

144. in Missouri, a defamation claim must include proof of harm to the plaintiffs reputation,l' and

 

69 Bauer v. Ribaudo, 926 S.W.2d 38 (Mo.App. E.D.1996) Nazeri v. l\/lissouri Valley Collegc, 860 S.W.2d at 313.
70 Arthaud v. Mutual omeaha lns. Co., 170 F.Bd 860, (8th Cir.l999) (applying l\/lissouri law)
71 Kenney v. Wal-l'\/lart Stores. lnc. 100 S.W.$d 809 (2003)

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while the 8th Circuit has relied upon Hogrre v. Aineron lnc. for the principle that a plaintiffs
testimony that her reputation has been injured can be sufficient evidence of harm,l2 (and
Plaintiff so attests), the Facebook postings alone give ample evidence of such harm. The The 8‘h
Circuit has also relied upon Lirde Roclr Newspapers, ]nc. for the concept that harm to a
plaintiffs reputation can be demonstrated by evidence that others think less of Plaintiff because
of the defamatory statements73 Such harm is abundantly demonstrated as, for example, in jl‘|lS7,

58, 60, 61, 62, 63, 68, and 73 above

145. Plaintiff is not a public figure within the meaning applicable to defamation cases,74 and is
therefore not required by the First Amendment to meet the "actual malice" standard75 in order to
recover from Defendant76 While a showing of negligence is a sufficient degree of fault to
support a defamation action and recovery of damages for a private citizen such as Plaintiff, an
award of punitive damages is available to the court upon a showing of “actual malice”""7 which

has been shown herein.

146. WHEREFORE, Plaintiff prays for actual damages against Defendant, and each ofthem,jointly
and severally, in an amount of $4,755,000 and punitive damages against Defendant, and each of
them, jointly and severally, statutory and other interest1 his costs and for such other and further

relief as the Court deems just and proper

 

72 286 Ark. 481, 695 S.W.2d 373, 374 (1985)

73 954 S.W.2d at 920-21

74 Dun & Bradstreet v. Greenmoss Builders, lnc., 472 U.S. 749 (1985)
75 l\lew York Times Co. v. Sullivan, 376 U. S. 254

76 Wolston v. Rcader's Digest Assn.1 lnc_1 443 U.S. 157 (1979)

77 Gertz V. Robert Welch, lnc., (1974) No. 72-617

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CERT|F|CAT|ON AND CLOS|NG

Under Federal Rule ofCivil Procedure l l , by signing below, 1 certify to the best of my knowledge
information, and belief that this complaint (l) is not being presented for an improper purpose, such as
to harass, cause unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by
existing law or by a nonfrivolous argument for extending modifying, or reversing existing law; (3) the
factual contentions have evidentiary support or, ifspecifically so identified, will likely have evidentiary
support after a reasonable opportunity for further investigation or discovery; and (4) the complaint

otherwise complies with the requirements ofRule l l.

l agree to provide the Clerk’ s Office with any changes to my address where case-related papers may be
served. l understand that my failure to keep a current address on file with the Clerk’ s Office may result
in the dismissal of my ca e.

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Signature ofPlaintiff

Printed l\lame of Plaintiff W/;- ///@':; §§W

 

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i Actual malice side-bv-side comparison
ii Anatomv ol`a smear

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